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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                       :
ELLEN BARTELS AND FREDERICK L.                         :
BARTELS, JR., Individually and as                      :
Administrators of the Estate of Abrielle Kira          : C.A. NO.:
Bartels, Deceased,                                     : 1:16-cv-02145-CCC
                                       Plaintiffs,     :
                        vs.                            : (CONNER, C.J.)
                                                       :
THE MILTON HERSHEY SCHOOL,                             :
                                                       :
and                                                    :
                                                       :
THE HERSHEY TRUST COMPANY, AS                          :
TRUSTEE OF THE MILTON HERSHEY                          :
SCHOOL TRUST,                                          :
                         Defendants.                   :
                                                       :

                                      ORDER

       Now, this ____ day of ___________________, 2017, upon consideration of

the Joint Motion to extend the deadlines set forth in the Court’s April 7, 2017, Case

Management Order (Dkt. 56), jointly filed by Plaintiffs, Julie Ellen Wartluft f/n/a

Julie Ellen Bartels, and Frederick L. Bartels, Jr., Individually and as

Administrators of the Estate of Abrielle Kira Bartels, Deceased (together,

“Plaintiffs”), and Defendants The Milton Hershey School, and The Hershey Trust

Company, it is hereby ORDERED that the Joint Motion is GRANTED as follows:

       1.      The Court’s April 7, 2017, Case Management Order (Dkt. 56), is

vacated; and
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      2.    The Court shall issue a new Case Management Order extending all

deadlines by sixty-seven days, thereby designating the discovery deadline

September 8, 2017.




                                            _____________________________
                                            Christopher C. Conner, Chief Judge
                                            United States District Court
                                            Middle District of Pennsylvania




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                 IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                       :
ELLEN BARTELS AND FREDERICK L.                         :
BARTELS, JR., Individually and as                      :
Administrators of the Estate of Abrielle Kira          : C.A. NO.:
Bartels, Deceased,                                     : 1:16-cv-02145-CCC
                                       Plaintiffs,     :
                        vs.                            : (CONNER, C.J.)
                                                       :
THE MILTON HERSHEY SCHOOL,                             :
                                                       :
and                                                    :
                                                       :
THE HERSHEY TRUST COMPANY, AS                          :
TRUSTEE OF THE MILTON HERSHEY                          :
SCHOOL TRUST,                                          :
                         Defendants.                   :
                                                       :

                JOINT MOTION TO EXTEND THE COURT’S
                      CASE MANAGEMENT ORDER

       Defendants The Milton Hershey School, and The Hershey Trust Company,

as trustee of The Milton Hershey School (identified in the caption and Amended

Complaint as “The Hershey Trust Company, as Trustee of the Milton Hershey

School Trust”), and Plaintiffs, Julie Ellen Wartluft f/n/a Julie Ellen Bartels, and

Frederick L. Bartels, Jr., Individually and as Administrators of the Estate of

Abrielle Kira Bartels, Deceased (“Abrielle Bartels”) (together, “Plaintiffs”), jointly

move to extend the deadlines set forth in this Court’s April 7, 2017, Case
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Management Order (Dkt. 56), pursuant to Federal Rules of Civil Procedure 6(b)

and 16(b)(4).

I.    BACKGROUND

      Following the filing of the Complaint in this action, on or about September

27, 2016, this case was transferred from the United States District Court for the

Eastern District of Pennsylvania to this judicial district. (Dkts. 18-19.) On

October 28, 2016, Plaintiffs filed an Amended Complaint against Defendants

bringing claims based on: the Fair Housing Act, 42 U.S.C. § 3602, et seq. (“FHA”)

(Count I); negligence (Count III); wrongful death (Count V); survival act (Count

VI); negligent misrepresentation (Count VII); intentional misrepresentation (Count

VIII); intentional infliction of emotional distress (Count IX); negligent infliction of

emotional distress (Count X); civil conspiracy (Count XI); breach of fiduciary duty

(Count XII); and negligence per se (Count XIII).1 (Dkt. 29.) On November 14,

2016, Defendants moved to dismiss the Amended Complaint for failure to state a

claim under Rule 12(b)(6) of the Federal Rules of Civil Procedure. (Dkts. 31-32.)

The motion to dismiss is currently pending before this Court.

      The parties have conducted written and oral discovery in this action.

Defendants have produced approximately 2,200 pages of documents, and Plaintiffs


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     Counts II, and IV from the original Complaint were omitted from the
Amended Complaint. See (Dkt. 1.)

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have likewise produced approximately 600 pages of materials. Supplemental

written discovery is ongoing. Notwithstanding such production, there remain

multiple outstanding objections by Plaintiffs and Defendants as to the sufficiency

of discovery responses, the resolution of which may prompt the need for additional

discovery, or involvement by the court.

       The parties have also conducted thirteen depositions thus far in the case,

however, additional depositions are required that cannot be completed prior to the

expiration of the current discovery deadline. Plaintiffs and Defendants continue to

schedule additional depositions, including representatives of various third-party

mental health providers (who have lodged outstanding objections to written

discovery and depositions) and other witnesses identified in discovery as having

relevant information concerning the case, including one witness who is

incarcerated, Plaintiffs’ son Joshua Bartels.

II.    ARGUMENT

       Pursuant to Rule 16(b)(4), a pretrial scheduling order “may be modified only

for good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). Rule

16(b)’s “good cause” standard “focuses on the moving party’s burden to show due

diligence.” Race Tires Am., Inc. v. Hoosier Racing Tire Corp., 614 F.3d 57, 84 (3d

Cir. 2010). Here, for the following reasons, the parties have demonstrated due




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diligence, and the deadlines set forth in the Court’s Case Management Order (Dkt.

56), should be extended by sixty-seven days.

      First, Defendants’ motion to dismiss remains pending before the Court.

Accordingly, Defendants have not yet answered the Amended Complaint and the

current discovery deadline will necessarily lapse, even were the motion decided

today, before the filing of any Answer filed by Defendants. Defendants’ Answer

may potentially include Affirmative Defenses not yet known or otherwise

articulated to Plaintiffs, and potentially may include claims and/or additional

parties not yet named in the suit and about which the parties will not have

undertaken any discovery (were the deadline to lapse on June 30, 2017). (Dkts.

31-32.) The parties should not be precluded from taking discovery following the

filing of an Answer to the Amended Complaint, inclusive of asserted Affirmative

Defenses and any additional responses included therein.

      Second, Plaintiffs have filed a complex action advancing multiple theories of

liability based upon, inter alia, the FHA, and negligence based actions. In order to

adequately investigate Plaintiffs’ claims and Defendants’ defenses, the parties

intend to conduct additional depositions as outlined in their Joint Case

Management Plan and Initial (and supplemented) Disclosures. (Dkt. 35.) The

parties intend to depose additional third-parties, such as medical and mental health

professionals, records custodians, as well as other third-party fact witnesses. The

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parties continue to work to schedule these important discovery depositions, but

such scheduling cannot be completed prior to the expiration of the current

discovery deadline.

      Third, in light of the causes of action asserted by Plaintiffs and the

allegations of mental health disabilities, Plaintiffs and Defendants have

subpoenaed third-party medical providers who have provided medical and mental

health treatment to Abrielle Bartels. Some of those providers, however, have

failed to comply with the subpoenas and have not produced documents, including

the assertion of objections to document productions and attempted depositions.

Typically, third-party medical providers refuse to comply with subpoenas for these

types of records without a Court order (based on the Health Insurance Portability

and Accountability Act of 1996, and similar state laws, like the Pennsylvania

Mental Health Procedures Act), and Defendants may need to request the Court’s

intervention to promptly secure these highly relevant documents. The parties are

actively meeting and conferring with third-party mental health providers in order to

obtain these highly relevant and discoverable medical materials, but it is unlikely

that all such disputes will be resolved prior to June 30, 2017, and a certainty that

any associated depositions can be completed prior to the expiration of the current

discovery deadline.




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        Fourth, undersigned counsel are the same counsel in Dobson v. Milton

Hershey School, et al., 1:16-CV-1958-CCC (M.D. Pa.), which is also assigned to

this Court. The Dobson matter involves complex theories of liability and causes of

action. The parties are coordinating discovery in that complex litigation as well.

        Fifth, the parties are filing this Motion jointly, and the discovery deadline

has not yet expired. Thus, the parties respectfully request that all Case

Management Order deadlines be extended for sixty-seven days, thereby

designating September 8, 2017 as the discovery deadline.

III.    CONCLUSION

        For the foregoing reasons, and for good cause shown, the parties jointly

request that the Court enter an Order extending all case management deadlines as

outlined above.




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Respectfully submitted,

/s Gregory F. Cirillo               /s Jarad W. Handelman
Gregory F. Cirillo, Esquire         Jarad W. Handelman, Esquire
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                                    Counsel for Defendants
Dated: June 19, 2017




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                   CERTIFICATION OF CONCURRENCE

      Pursuant to Local Civil Rule 7.1, as this Motion is filed jointly, all counsel

concur with the Motion.

Respectfully submitted,


/s Gregory F. Cirillo                   /s Jarad W. Handelman
Gregory F. Cirillo, Esquire             Jarad W. Handelman, Esquire
(PA 46878)                              (PA 82629)
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Dated: June 19, 2017
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                         CERTIFICATE OF SERVICE
      I, Kyle M. Elliott, Esquire, hereby certify that I caused the foregoing Joint

Motion to Extend the Court’s Case Management Order to be filed electronically

with the Court, where it is available for viewing and downloading from the Court’s

ECF system, and that such electronic filing automatically generates a Notice of

Electronic Filing constituting service of the filed document upon all counsel of

record, including:

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Counsel for Plaintiffs

                                              /s Kyle M. Elliott
                                              Kyle M. Elliott, Esquire
Dated: June 19, 2017
